      Case 1:19-cv-00109-SPW-TJC Document 24 Filed 11/09/20 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


FLORENTINE ANGEL,                                CV 19-109-BLG-SPW-TJC

                    Plaintiff,
                                                 ORDER
vs.

UNITED STATES of AMERICA,

                    Defendant.

      Before the Court is Plaintiff’s unopposed motion for substitution of party.

(Doc. 23.) Good cause appearing,

      IT IS ORDERED that the motion is GRANTED. “Garrick Angel, Personal

Representative for the Estate of Florentine Thomas Angel,” shall be

SUBSTITUTED for Florentine Angel as the plaintiff.

      DATED this 9th day of November, 2020.

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                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
